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                                                                             Total Hours     Total Rdx on
                        Graduation                                           Individual Rate individual      Enhancement
      Biller            Year            Firm        Year Total Hours         Judgement       hours           Requested
      Rachel Doughty                2004 GFL        ALL           568.0               560.1          1.39%            2.0
      Rachel Doughty                                2018               0.0              0.0          0.00%
      Rachel Doughty                                2019               0.0              0.0          0.00%
      Rachel Doughty                                2020               0.0              0.0          0.00%
      Rachel Doughty                                2021               6.3              4.6         26.98%
      Rachel Doughty                                2022          147.1               145.1          1.36%
      Rachel Doughty                                2023          376.9               374.2          0.72%
      Rachel Doughty                                2024           37.7                36.2          3.98%



                      Paralegal/
      Erica Plasencia Translation       GFL         ALL            26.6                26.1          1.88%            1.2
      Erica Plasencia                               2018               0.0              0.0          0.00%
      Erica Plasencia                               2019               0.0              0.0          0.00%
      Erica Plasencia                               2020               0.0              0.0          0.00%
      Erica Plasencia                               2021               2.1              2.1          0.00%
      Erica Plasencia                               2022           24.5                24.0          2.04%
      Erica Plasencia                               2023               0.0              0.0          0.00%
      Erica Plasencia                               2024               0.0              0.0          0.00%



      Alexandra
      Monson                        2018 GFL        ALL            16.5                16.5          0.00%            1.5
      Alexandra
      Monson                                        2018               0.0              0.0          0.00%
      Alexandra
      Monson                                        2019               0.0              0.0          0.00%
      Alexandra
      Monson                                        2020               0.0              0.0          0.00%
      Alexandra
      Monson                                        2021               9.8              9.8          0.00%
      Alexandra
      Monson                                        2022               6.7              6.7          0.00%
      Alexandra
      Monson                                        2023               0.0              0.0          0.00%
      Alexandra
      Monson                                        2024               0.0              0.0          0.00%



      Carla Barraez     Paralegal       GFL         ALL                6.1              5.5          9.84%            1.0
      Carla Barraez                                 2018               0.0              0.0          0.00%
      Carla Barraez                                 2019               0.0              0.0          0.00%
      Carla Barraez                                 2020               0.0              0.0          0.00%
      Carla Barraez                                 2021               0.6              0.0          0.00%
      Carla Barraez                                 2022               2.6              2.6          0.00%
      Carla Barraez                                 2023               2.9              2.9          0.00%
      Carla Barraez                                 2024               0.0              0.0          0.00%



      Ariel Strauss                 2011 GFL        ALL            22.2                11.2         49.55%            1.5
      Ariel Strauss                                 2018               0.0              0.0          0.00%
      Ariel Strauss                                 2019               0.0              0.0          0.00%



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                                                                             Total Hours     Total Rdx on
                        Graduation                                           Individual Rate individual      Enhancement
      Biller            Year         Firm           Year Total Hours         Judgement       hours           Requested
      Ariel Strauss                                 2020               0.0              0.0          0.00%
      Ariel Strauss                                 2021               2.5              2.5          0.00%
      Ariel Strauss                                 2022               0.0              0.0          0.00%
      Ariel Strauss                                 2023           19.7                 8.7         55.84%
      Ariel Strauss                                 2024               0.0              0.0          0.00%



      Christian Bucey            2017 GFL           ALL                3.9              3.7          5.90%            1.5
      Christian Bucey                               2018               0.0              0.0          0.00%
      Christian Bucey                               2019               0.0              0.0          0.00%
      Christian Bucey                               2020               0.0              0.0          0.00%
      Christian Bucey                               2021               0.0              0.0          0.00%
      Christian Bucey                               2022               1.8              1.6         12.78%
      Christian Bucey                               2023               2.1              2.1          0.00%
      Christian Bucey                               2024               0.0              0.0          0.00%



      Jessica Taylor             2014 GFL           ALL            15.2                 9.6         36.84%            1.5
      Jessica Taylor                                2018               0.0              0.0          0.00%
      Jessica Taylor                                2019               0.0              0.0          0.00%
      Jessica Taylor                                2020               0.0              0.0          0.00%
      Jessica Taylor                                2021               0.0              0.0          0.00%
      Jessica Taylor                                2022           15.2                 9.6         36.84%
      Jessica Taylor                                2023               0.0              0.0          0.00%
      Jessica Taylor                                2024               0.0              0.0          0.00%



      Richard Brody              1981 GFL           ALL           618.0               618.0          0.00%            2.0
      Richard Brody                                 2018               0.0              0.0          0.00%
      Richard Brody                                 2019               0.0              0.0          0.00%
      Richard Brody                                 2020               0.0              0.0          0.00%
      Richard Brody                                 2021               0.0              0.0          0.00%
      Richard Brody                                 2022          188.5               188.5          0.00%
      Richard Brody                                 2023          428.4               428.4          0.00%
      Richard Brody                                 2024               1.1              1.1          0.00%



      Susann
      Bradford                   2021 GFL           ALL            81.7                81.5          0.24%            1.5
      Susann
      Bradford                                      2018               0.0              0.0          0.00%
      Susann
      Bradford                                      2019               0.0              0.0          0.00%
      Susann
      Bradford                                      2020               0.0              0.0          0.00%
      Susann
      Bradford                                      2021               0.0              0.0          0.00%
      Susann
      Bradford                                      2022           74.4                74.4          0.00%
      Susann
      Bradford                                      2023               7.3              7.1          2.74%



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                                                                           Total Hours     Total Rdx on
                      Graduation                                           Individual Rate individual      Enhancement
      Biller          Year              Firm      Year Total Hours         Judgement       hours           Requested
      Susann
      Bradford                                    2024               0.0              0.0          0.00%



      Nuria de la     Legal Asst/
      Fuente          Translation       GFL       ALL           124.7               113.7          8.84%            1.2
      Nuria de la
      Fuente                                      2018               0.0              0.0          0.00%
      Nuria de la
      Fuente                                      2019               0.0              0.0          0.00%
      Nuria de la
      Fuente                                      2020               0.0              0.0          0.00%
      Nuria de la
      Fuente                                      2021               0.0              0.0          0.00%
      Nuria de la
      Fuente                                      2022           18.4                18.2          1.09%
      Nuria de la
      Fuente                                      2023           98.6                88.9          9.84%
      Nuria de la
      Fuente                                      2024               7.7              6.6         14.61%



      Jessica Blome                 2007 GFL      ALL                4.3              4.3          0.00%            1.5
      Jessica Blome                               2018               0.0              0.0          0.00%
      Jessica Blome                               2019               0.0              0.0          0.00%
      Jessica Blome                               2020               0.0              0.0          0.00%
      Jessica Blome                               2021               0.0              0.0          0.00%
      Jessica Blome                               2022               0.3              0.3          0.00%
      Jessica Blome                               2023               4.0              4.0          0.00%
      Jessica Blome                               2024               0.0              0.0          0.00%



      Rae Lovko                     2000 GFL      ALL            92.8                92.8          0.00%            1.5
      Rae Lovko                                   2018               0.0              0.0          0.00%
      Rae Lovko                                   2019               0.0              0.0          0.00%
      Rae Lovko                                   2020               0.0              0.0          0.00%
      Rae Lovko                                   2021               0.0              0.0          0.00%
      Rae Lovko                                   2022               0.0              0.0          0.00%
      Rae Lovko                                   2023           92.4                92.4          0.00%
      Rae Lovko                                   2024               0.4              0.4          0.00%



      Lily Rivo                     2005 GFL      ALL                8.5              8.5          0.00%            1.5
      Lily Rivo                                   2018               0.0              0.0          0.00%
      Lily Rivo                                   2019               0.0              0.0          0.00%
      Lily Rivo                                   2020               0.0              0.0          0.00%
      Lily Rivo                                   2021               0.0              0.0          0.00%
      Lily Rivo                                   2022               0.0              0.0          0.00%
      Lily Rivo                                   2023               8.5              8.5          0.00%
      Lily Rivo                                   2024               0.0              0.0          0.00%




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                                                                            Total Hours     Total Rdx on
                       Graduation                                           Individual Rate individual      Enhancement
      Biller           Year            Firm        Year Total Hours         Judgement       hours           Requested


                       Senior
      Donna Wallace    Paralegal       GFL         ALL            47.0                44.5          5.32%            1.0
      Donna Wallace                                2018               0.0              0.0          0.00%
      Donna Wallace                                2019               0.0              0.0          0.00%
      Donna Wallace                                2020               0.0              0.0          0.00%
      Donna Wallace                                2021               0.0              0.0          0.00%
      Donna Wallace                                2022               0.0              0.0          0.00%
      Donna Wallace                                2023           47.0                44.5          5.32%
      Donna Wallace                                2024               0.0              0.0          0.00%



      Paul Hauffman                1976 SSHH&Z     ALL                6.0              0.0        100.00%            N/A
      Paul Hauffman                                2018               0.0              0.0          0.00%
      Paul Hauffman                                2019               0.0              0.0          0.00%
      Paul Hauffman                                2020               6.0              0.0          0.00%
      Paul Hauffman                                2021               0.0              0.0          0.00%
      Paul Hauffman                                2022               0.0              0.0          0.00%
      Paul Hauffman                                2023               0.0              0.0          0.00%
      Paul Hauffman                                2024               0.0              0.0          0.00%



      Michael Seplow               1990 SSHH&Z     ALL                9.0              0.0        100.00%            N/A
      Michael Seplow                               2018               0.0              0.0          0.00%
      Michael Seplow                               2019               0.0              0.0          0.00%
      Michael Seplow                               2020               9.0              0.0          0.00%
      Michael Seplow                               2021               0.0              0.0          0.00%
      Michael Seplow                               2022               0.0              0.0          0.00%
      Michael Seplow                               2023               0.0              0.0          0.00%
      Michael Seplow                               2024               0.0              0.0          0.00%



      Yolanda Huang                1982 YH         ALL         2,504.9             2,396.0          4.35%            2.0
      Yolanda Huang                                2018               0.0              0.0          0.00%
      Yolanda Huang                                2019          261.0               261.0          0.00%
      Yolanda Huang                                2020          286.6               286.6          0.00%
      Yolanda Huang                                2021          284.0               284.0          0.00%
      Yolanda Huang                                2022          729.3               729.3          0.00%
      Yolanda Huang                                2023          924.9               816.1         11.76%
      Yolanda Huang                                2024           19.2                19.1          0.52%



      Student Clerk    Student Clerk   YH          ALL            40.0                40.0          0.00%            2.0
      Student Clerk                                2018               0.0              0.0          0.00%
      Student Clerk                                2019               0.0              0.0          0.00%
      Student Clerk                                2020               0.0              0.0          0.00%
      Student Clerk                                2021               0.0              0.0          0.00%
      Student Clerk                                2022               0.0              0.0          0.00%
      Student Clerk                                2023           40.0                40.0          0.00%



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                                                                             Total Hours     Total Rdx on
                         Graduation                                          Individual Rate individual      Enhancement
      Biller             Year            Firm       Year Total Hours         Judgement       hours           Requested
      Student Clerk                                 2024               0.0              0.0          0.00%



      Adirah
      Rodriguez          Student Clerk   YH         ALL            14.5                14.5          0.00%            2.0
      Adirah Rodriguez                              2018               0.0              0.0          0.00%
      Adirah Rodriguez                              2019               0.0              0.0          0.00%
      Adirah Rodriguez                              2020               0.0              0.0          0.00%
      Adirah Rodriguez                              2021               0.0              0.0          0.00%
      Adirah Rodriguez                              2022               0.0              0.0          0.00%
      Adirah Rodriguez                              2023           14.5                14.5          0.00%
      Adirah Rodriguez                              2024               0.0              0.0          0.00%



      Pat                Senior
      Giacommetti        Paralegal       YH         ALL           133.3               133.3          0.00%            2.0
      Pat Giacommetti                               2018               0.0              0.0          0.00%
      Pat Giacommetti                               2019               0.0              0.0          0.00%
      Pat Giacommetti                               2020               0.0              0.0          0.00%
      Pat Giacommetti                               2021               4.0              4.0          0.00%
      Pat Giacommetti                               2022          129.3               129.3          0.00%
      Pat Giacommetti                               2023               0.0              0.0          0.00%
      Pat Giacommetti                               2024               0.0              0.0          0.00%



      Joshua Paiz        Student Clerk   YH         ALL           156.8               156.8          0.00%            2.0
      Joshua Paiz                                   2018               0.0              0.0          0.00%
      Joshua Paiz                                   2019               0.0              0.0          0.00%
      Joshua Paiz                                   2020               0.0              0.0          0.00%
      Joshua Paiz                                   2021               0.0              0.0          0.00%
      Joshua Paiz                                   2022               0.0              0.0          0.00%
      Joshua Paiz                                   2023          152.4               152.4          0.00%
      Joshua Paiz                                   2024               4.4              4.4          0.00%




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